
Eoaste, Judge.*
The court is of opinion, that notwithstanding the generality of the expression “ all attachments,” (a) these terms do not extend to attachments for rent, like the one before us. This is evident, not only from a recurrence to the several acts from which that act is compiled, and which make that construction inadmissible, but also from the 13th section immediately following. In that section, the phrase is limited by the expression “ such attachment,” therein used, to attachments for debt only; as is evident from the general provisions to the section aforesaid; which provisions apply, only to attachments of the latter character.
On these grounds, the court reverses the judgment of the Superior court with costs; and allirms that of the court of Hustings.

 Cabell absent.


 Chap. 123, § 12. 1 Ren. Code.

